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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                   Case No.: 1:21-cr-00104-RJL
             v.
                                                   Hon. Richard J. Leon
 KLETE DERIK KELLER,
                 Defendant.


                                             ORDER

        THIS MATTER comes before the Court on the Defendant’s Unopposed Motion To

Continue Sentencing, currently docked for May 10, 2023 at 3:30 PM.

        And it APPEARING to the Court that good cause has been shown, considering the

representations made by counsel, to continue Defendant’s currently scheduled sentencing

hearing; it is thereby

        ORDERED that the Defendant’s Sentencing Hearing presently scheduled for May 10,

2023 at 3:30 PM is reset for Friday, July 7, 2023 at 3:30 PM. It is FURTHER ORDERED that

the parties file their respective Positions on Sentencing no later than June 30, 2023.

        THE CLERK IS DIRECTED to send a copy of this Order to all counsel of record.



        ENTERED this ____ day of ___________________, 2023.




                                      ______________________________________________
                                      Richard J. Leon, United States District Court Judge
